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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

TZIVA      RAPOPORT-HECHT,              MAGGIE   Case No. 7:14-CV-09Q87-KMK
TSAN, and ERICA WILDSTEIN, on behalf of
herself and all others similarly situated,       rPR6PUSlffli ORDER APPROVING   ~
                                                 CLASS ACTION SETTLEMENT AND
              Plaintiffs,                        FINAL JUDGMENT

       v.

SEVENTH GENERATION, INC,

              Defendant.
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       On the 26th day of January 2017, a hearing was held before this Court to determine: (I)

whether the Class Action Settlement Agreement ("Settlement Agreement") should be finally

approved as fair, reasonable, and adequate for the Settlement Class; (b) whether Class Counsel's

application for attorneys' fees and expenses and if an incentive award for Plaintiffs should be

granted; and, (c) whether a judgment granting approval of the Settlement Agreement and

dismissing the Action with prejudice should be entered; and

       Based upon the submissions of the Parties and consideration of all matters submitted to

the Court at the Fairness Hearing, and otherwise confirming that the notice of the proposed

settlement and hearing was published in the manner previously approved of by the Court,

       IT IS HEREBY ORDERED AND ADJUDGED THAT:

       I.     The Court has jurisdiction over the subject matter of the Action, the Class

Representatives, all Class Members, and Defendant Seventh Generation, Inc. ("SVG" or

"Defendant"). Without in any way affecting the finality of this Final Judgment and Order

Approving Settlement, this Court hereby retains jurisdiction as to all matters relating to

administration, consummation, enforcement, and interpretation of the Settlement Agreement and

of this Final Judgment and Order Approving Settlement, and for any other necessary purpose.

       2.     All capitalized terms and definitions not otherwise defined herein shall have the

meaning set forth in the Settlement Agreement.

       3.     The Court finds, for purposes of effectuating this Settlement only, that the

prerequisites for a class action under Federal Rule of Civil Procedure 23(a) and (b)(3) have been

satisfied in that: (a) the number of Class Members is so numerous that joinder of all members

thereof is impracticable; (b) there are questions of law and fact common to the Class; (c) the

claims of the Court-appointed Class Representatives are typical of the claims of the Class they
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represent; (d) the Class Representatives have and will continue to fairly and adequately represent

the interests of the Class; (e) the questions of law and fact common to the members of the Class

predominate over any questions affecting only individual members of the Class; and (f) a class

action is superior to other available methods for the fair and efficient adjudication of the

controversy.

       4.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, this Court hereby

finally certifies for purposes of settlement the above-caption actions as a class action on behalf of

the Settlement Class, defined as:

       All persons and entities who, during the Class Period, both resided in the United
       States and purchased in the United States any of the SVG Products for their
       household use or personal consumption and not for resale. Excluded from the
       Settlement Class are: (a) SVG's board members or executive-level officers,
       including its attorneys; (b) governmental entities; (c) the Court, the Court's
       immediate family, and the Court staff; and (d) any person that timely and properly
       excludes himself or herself from the Settlement Class in accordance with the
       proc~s approved by the Court.                                                                    ~
       5.   ~lass Period" means the period from November 14,2010, up to and including the ~
date of the Court's Order Preliminary Approving Class Action Settlement, Certifying Settlement

Class, Approving Notice Plan, and Scheduling Date for Final Fairness Hearing (the "Preliminary

Approval Order").

       6.      The "Products" or "SVG Products" means Defendant's products as set forth in

Exhibit E to the Settlement Agreement, purchased by Settlement Class Members during the

Class Period, as well as any of the Defendant's products that are purchased in the future,

provided that there is no substantial change in their formulation or Defendant's labeling,

marketing or advertising of the Products that would be material to the claims resolved in the

Settlement Agreement.




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        7.     Pursuant to Federal Rule of Civil Procedure 23(c)(3), all such Persons who satisfy

the Class definition above, except those Class Members who timely and validly excluded

themselves from the Class, are Settlement Class Members bound by this Judgment.

        8.     Persons who properly excluded themselves from the Class are listed on Exhibit I

annexed hereto.

       9.      The Court reaffirms the appointment of Plaintiffs Tziva Rapoport-Hecht, Maggie

Tsan, and Erica Wildstein as Class Representatives, and finds that they have adequately

represented the Settlement Class for purposes of entering into and implementing the Settlement

Agreement.

        I 0.   The Court reaffirms the appointment of Michael R. Reese of Reese LLP; Melissa

W. Wolchansky of Halunen Law; Jeffrey D. Kaliel ofTycko & Zavareei LLP and Jason Sultzer

of The Sultzer Law Group as Class Counsel. The Court finds that these lawyers are competent

and capable of exercising their responsibilities as Class Counsel, and finds that Class Counsel

has adequately represented the Settlement Class for purposes of entering into and implementing

the Settlement Agreement.

        II.    The Court finds that the Class meets all requirements of Federal Rules of Civil

Procedure 23(a) and 23(b)(3) for certification ofthe class claims alleged in the Third Amended

Complaint, including: (a) numerosity; (b) commonality; (c) typicality; (d) adequacy of the class

representatives and Class Counsel; (e) predominance of common questions of fact and law

among the Settlement Class; and (f) superiority.

        12.    The Court finds that notice was given to Settlement Class Members pursuant to

the Notice Plan and the Preliminary Approval Order, and that said notice was appropriate under

the circumstances, and constitutes valid, due, and sufficient notice to the Settlement Class in full



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compliance with the requirements of applicable law, including the Due Process Clause of the

United States Constitution. The Settlement Class Members received notice of (a) the pendency of

the Action; (b) the terms of the proposed Settlement, including the Release; (c) their rights under

the proposed Settlement; (d) their right to exclude themselves from the Settlement Class and the

proposed Settlement; (e) their right to object to any aspect of the proposed Settlement; (f) their

right to appear at the Fairness Hearing; (g) Class Counsel's request for attorneys' fees and

expenses and an incentive award to the Class Representatives; and (h) the binding effect of this

Final Judgment and Order Approving Settlement on all Persons who did not timely exclude

themselves from the Settlement Class.

       13.     The Court finds that notice of the proposed Settlement was provided to the

appropriate state and government officials pursuant to 28 U.S.C. § 1715. Furthermore, the Court

has given the appropriate state and government officials the requisite ninety (90) day time period

to comment or object to the proposed Settlement before entering this Final Judgment and Order

Approving Settlement and no such comments or objections were received.

       14.     The terms and provisions of the Settlement Agreement have been entered into in

good faith and are hereby fully and finally approved as fair, reasonable, and adequate as to, and

in the best interests of, each of the Parties and the Settlement Class Members. The Court has

considered all objections to the Settlement and overrules them as without merit as stated on the

record at the January 26, 2017 hearing. Accordingly, the Court hereby directs that the Settlement

shall be effected in accordance with the terms of the Settlement Agreement (all of which terms

and definitions are adopted and incorporated herein by reference).

       15.     The terms of the Settlement Agreement, and of this Final Judgment and Order

Approving Settlement, shall be forever binding on, and shall have res judicata and preclusive



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effect in, all pending and future lawsuits maintained by Plaintiffs and all other Settlement Class

Members who did not timely exclude themselves from the Settlement Class, as well as their

heirs, executors, and administrators, successors, and assigns.

        16.    Defendant is ordered to implement the terms and conditions of the Settlement

Agreement, including payment to all Settlement Class Members who have not excluded

themselves from this Settlement and who submit a timely, valid Claim pursuant to the Settlement

Agreement, and to implement the terms of the injunctive relief agreed to in the Settlement

Agreement.

        17.    The Court has considered the submissions by the Parties and all other relevant

factors, including the result achieved and the efforts of Class Counsel in prosecuting the claims

on behalf of the Class. Plaintiffs initiated the litigation, acted to protect the Class, and assisted

their Counsel on behalf of the Class. The efforts of Class Counsel have produced the Settlement

Agreement entered into in good faith, and which provides a fair, reasonable, adequate and certain

result for the Class. Class Counsel is entitled to a reasonable Fee and Expense Award for their

work, which the Court finds to be $1,500,000.

       18.     Further, the Court approves a $5,000 Incentive Awards to each of the Class

Representatives.

       19.     The Fees and Expense A ward and Plaintiffs' Service Awards shall be paid by

Defendant pursuant to the time table set forth in the Settlement Agreement.

       20.     The Court finding that no reason exists for delay in ordering final judgment

pursuant to Federal Rule of Civil Procedure 54(b), the clerk is hereby directed to enter this

Judgment forthwith.




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       21.     This Action (and any and all claims asserted herein at any time) is dismissed in its

entirety, on the merits, with prejudice and without leave to amend, with each Party to bear

his/her/its own costs and attorneys' fees (except as otherwise expressly provided herein), and all

Settlement Class Members who did not timely and properly execute and submit a Request for

Exclusion shall be forever barred and permanently enjoined from starting, continuing, or

participating in, litigating, or receiving any benefits or relief from any other lawsuit, arbitration,

or administrative or regulatory proceeding or order based on or relating to the claims, facts, or

circumstances in this Action or the Released Claims except claims relating to the enforcement of

the Settlement of the Action. The Released Claims includes only those claims arising out of or

relating to the allegations in the Amended Class Action Complaint and the labels or advertising

of any SVG Products and does not include any other products. The Released Claims are hereby

compromised, settled, released, discharged and dismissed as against the Released Persons on the

merits and with prejudice by virtue of the proceedings herein and this Order and Final Judgment.

       22.     The Parties are hereby authorized without needing further approval from the

Court, to agree to and adopt such modifications and expansions of the Stipulation, including

without limitation, the forms to be used in the claims process, which are consistent with this

Judgment and do not limit the rights of Class members under the Stipulation

       23.     Final Judgment shall be entered herein.



   SO ORDERED


    DATED:+("'-£.     Zi . ' 29'17'


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First Name                   Last Name          Status
Melissa                      Houk               Timely
Yongok                       Song               Timely
Lisa & FJ                    Taylor             Timely
Elly                         Ventura            Timely
Willis                       Johnson            Timely
Cheyenne                     Upson              Timely
Deborah                      Ann                Timely
Valerie                      Sagers             Timely
Jennifer                     Lawton             Timely
David                        Pociask            Timely
Michael                      Lynch              Timely
Isabella                     Ekeh               Late
Ravi                         Nelavelli          Late
Viola                        Ratajczak          Late
